IT IS HEREBY ADJUDGED and DECREED that the
below described is WITHDRAWN.



Dated: July 27, 2018
                                                   ________________________________________
                                                                TONY M. DAVIS
                                                      UNITED STATES BANKRUPTCY JUDGE
______________________________________________________________


                     IN THE UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

IN RE:                                         §
                                               §             Case No. 18-10511-TMD
RONCO HOLDINGS, INC.,                          §
                                               §                    Chapter 11
                Debtor.                        §

     ORDER CONVERTING BANKRUTPCY CASE TO ONE UNDER CHAPTER 7

       Came on for consideration the Motion to Convert Case to One Under Chapter 7 (the

³Motion to Convert´ ILOHG E\ Ronco Holdings, Inc. WKH ³'HEWRU´  The Court, having

considered the Motion to Convert, finds it to be meritorious and that it should be granted as set

forth herein.

       It is, therefore:

       ORDERED that the Motion to Convert is GRANTED, and pursuant to 11 U.S.C.

§ 1112(a), this bankruptcy case is converted to one under &hapter 7 of Title 11 of the United

States Code.

                                              ###
ORDER PREPARED BY

Kell C. Mercer
Texas Bar No. 24007668
Kell C. Mercer, PC
1602 E. Cesar Chavez Street
Austin, TX 78702
(512) 627-3512
kell.mercer@mercer-law-pc.com




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                                               United States Bankruptcy Court
                                                 Western District of Texas
In re:                                                                                                     Case No. 18-10511-tmd
Ronco Holdings, Inc.                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0542-1                  User: chapmana                     Page 1 of 1                          Date Rcvd: Jul 27, 2018
                                      Form ID: pdfintp                   Total Noticed: 8


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 29, 2018.
db             +Ronco Holdings, Inc.,    15505 Long Vista Drive, Suite 250,    Austin, TX 78728-3833
cr             +Anthony Sodono,    Trenk, DiPasquale, Della Fera & Sodono,    347 Mt. Pleasant Avenue, Suite 300,
                 West Orange, NJ 07052-2730
cr             +Capital 2 Thrive, LLC,    c/o LeClairRyan, PLLC,    Attn.: Jason M. Medley, Esq.,
                 1233 West Loop South,    Suite 1000,   Houston, TX 77027-9109
cr             +Kaonolulu Ranch, LLLP,    c/o Thompson & Knight LLP,    1722 Routh Street,    Suite 1500,
                 Dallas, TX 75201-2532
cr             +P2Binvestor Inc.,    c/o Laura L Worsham,    Jones Allen & Fuquay LLP,   8828 Greenville Ave.,
                 Dallas, TX 75243-7143
cr             +Ron Satija,    c/o Brian Cumings,   401 Congress Ave.,    Suite 2200,   Austin, TX 78701-3790
cr              Texas Comptroller of Public Accounts,     Rachel R. Obaldo,   c/o Sherri K. Simpson, Paralegal,
                 P.O. Box 12548,    Austin, TX 78711-2548
cr             +Travis County,    c/o Kay D. Brock,   P.O. Box 1748,    Austin, TX 78767-1748

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 29, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 27, 2018 at the address(es) listed below:
              Brian Talbot Cumings    on behalf of Creditor Ron Satija bcumings@gdhm.com, krisinger@gdhm.com
              Caitlin C. Conklin    on behalf of Creditor    Capital 2 Thrive, LLC
               caitlin.conklin@leclairryan.com, joy.vanderweert@klgates.com
              Cassandra A. Shoemaker    on behalf of Creditor    Kaonolulu Ranch, LLLP
               cassandra.shoemaker@tklaw.com, dannette.johnson@tklaw.com;Nashira.Parker@tklaw.com
              Daniel M. Eliades    on behalf of Creditor    Capital 2 Thrive, LLC Daniel.eliades@klgates.com,
               caitlin.conklin@klgates.com
              Jason Matthew Medley    on behalf of Creditor    Capital 2 Thrive, LLC jason.medley@leclairryan.com,
               robert.gee@leclairryan.com
              Kay D. Brock    on behalf of Creditor    Travis County bkecf@traviscountytx.gov,
               kay.brock@traviscountytx.gov
              Kell C. Mercer    on behalf of Debtor    Ronco Holdings, Inc. kell.mercer@mercer-law-pc.com
              Laura L. Worsham    on behalf of Creditor    P2Binvestor Inc. lworsham@jonesallen.com,
               lmenton@jonesallen.com
              Rachel R Obaldo    on behalf of Creditor    Texas Comptroller of Public Accounts
               bk-robaldo@oag.texas.gov, sherri.simpson@oag.texas.gov
              United States Trustee - AU12    ustpregion07.au.ecf@usdoj.gov
                                                                                               TOTAL: 10
